12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 1 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 2 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 3 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 4 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 5 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 6 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 7 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 8 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                   October Invoices - Part 5 of 15 Pg 9 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 10 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 11 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 12 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 13 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 14 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 15 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 16 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 17 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 18 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 19 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 20 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 21 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 22 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 23 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 24 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 25 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 26 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 27 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 28 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 29 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 30 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 31 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 32 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 33 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 34 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 35 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 36 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 37 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 38 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 39 of 40
12-12020-mg   Doc 2324-6 Filed 11/30/12 Entered 11/30/12 17:43:13   Exhibit 2 -
                  October Invoices - Part 5 of 15 Pg 40 of 40
